a) \AMe wena Mattress NCSOtS
(Name of Plaintiff) (Inmate Number)

P.O. Box 2d Canp Hru,PA 11001
(Address)

(2)

 

(Name of Plaintiff) (Inmate Number)

 

(Address)

(Each named party must be numbered,
and all names must be printed or typed)

vs.
S
(1) SIG pespPeroens Lusenenten

(2) Deane Tar Reeoans Supenuzsoe

(3) Lawrence Manary Surcezotennest
_ . (Names of Defendants)
f4) “Sustains ApatdS — CoonsE Loe
(Each named party must be numbered,
and all names must be printed or typed)

Case 3:18-cv-00515-RDM Document1 Filed 03/05/18 Page 1 of 10

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FORM TO BE USED BY A PRISONER IN FILING A CIVIL RIGHTS COMPLAINT

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

4313-00. S1§

(Case Number)

CIVIL COMPLAINT

FILED
SCRANTON

MAR 05 2018

pee___ rn

DEPUTY CLERK

TO BE FILED UNDER: “42 U.S.C. § 1983 - STATE OFFICIALS
28 U.S.C. § 1331 - FEDERAL OFFICIALS

I, PREVIOUS LAWSUITS

A. If you have filed any other lawsuits in federal court while a prisoner, please list the caption and case
number including year, as well as the name of the judicial officer to whom it was assigned:

None

 

 

 

 
   
 
 

Case 3:18-cv-00515-RDM Document1 Filed 03/05/18 Page 2 of 10

EXHAUSTION OF ADMINISTRATIVE REMEDIES

In order to proceed in federal court, you must fully exhaust any available administrative remedies as to
each ground on which you request action.

A. Is there a prisoner grievance procedure available at your present institution? Yes No

B. Have you fully exhausted your available administrative remedies regarding each of your present
claims? Yes % No

Cc. If your answer to “B” is Yes:

1. What steps did you take?

 

 

2, What was the result?

 

 

D. If your answer to “B” is No, explain why not: Tousas UNAWARE OF MA RETEST IDA

BEYOND PA MAXTMOM SENTEHCE UNTLL AFTER MN RELEASE.

 

TW. DEFENDANTS
(1) Name of first defendant: SHERRY BagRoor

Employed as Recoans Superman at SCT Came How
Mailing address: P.O.Rox S83T Canap Hu PA tT001

(2) Name of second defendant: Dzane Yack
Employed as__Ketoans SppegvzseR at_ SCT Bauas
Mailing address: 1060 Forres Roan Dartas PA \SbI1

(3) Name of third defendant: }gpLamgence Manaus
Employed as SuP EArstEeN BENT at scl Jauas
Mailing address: _ 1000 Fourres Konp Daias PA \RbI7 (SEE ATT ACvED

(List any additional defendants, their employment, and addresses on extra sheets if necessary)
IV. STATEMENT OF CLAIM

(State here as briefly as possible the facts of your case. Describe how each defendant is involved, including
dates and places. Do not give any legal arguments or cite any cases or statutes. Attach no more than three
extra sheets if necessary.)

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Case 3:18-cv-00515-RDM Document1 Filed 03/05/18 Page 3 of 10

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(State briefly exactly what you want the court to do for you. Make ne legal arguments. Cite no cases or

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~ (See ATTACHED)

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Case 3:18-cv-00515-RDM Document1 Filed 03/05/18 Page 4 of 10

 

 

I declare under penalty of perjury that the foregoing is true and correct.

~
Signed this i dayof _Teskurny ,20_\6.

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(Signature of Plaintiff)
   

Case 3:18-cv-00515-RDM Document1 Filed 03/05/18 Page 5 of 10
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Case 3:18-cv-00515-RDM Document1 Filed 03/05/18 Page 8 of 10

ame: -Tamenend Matthews inmate #: NC5026 Closed Version No:1 Dated 10/4/2017 9:32:31 AM

4. NON-INCARCERATED OFFENSES

‘Sent Date County/State/Federal Indictments
None

 

 

 

 

 

 

 

 

 

5. DETAINERS

 

Active Detainers
Detainer#| Date Agency Agency identification OTN Type

 

 

 

 

 

 

 

 

 

 

 

 

Deleted Detainers (For those deleted since last DC16)

 

 

 

 

 

 

 

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RE-ENTRY me

 

 

 

6. PRIOR DOC NUMBERS

 

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7. ACTIONS: BOARD OF PARDONS

 

Decision File Number | Action Comments
ate

None

 

 

 

 

 

 

 

Last Modified By: Pelter, Kelli Ann
Signed Off By: Pelter, Kelli Ann Institution: Camp Hill

KS

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10/4/2017 9:32:31 AM Inmate #: NC5026 - Tamenend Matthews Version 1 Closed 10/4/2017 9:32:31 AM Page 3 of 3
Distribution: Inmate PBPP PSP BIS Counselor DC-15 Time File

 
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Case 3:18-cv-00515-RDM Document1 Fikeadorer Boye 6 10%

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